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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


COMMITTEE FORA FAIR AND BALANCED          )
MAP, et aI.,                              )
                                          )
                  Plaintiffs,             )
                                          )        Case No. I l-C-5065
          v.                              )
                                          )        Hon. John D. Tinder

ILLINOIS STATE BOARD OF ELECTIONS,        )        Hon. Joan H. Lefkow
 ­
et aI.,                                   )        Hon. Robert L. Miller, Jr.
                                          )        (3-judge court convened pursuant to
                                          )        28 U.S. C. § 2284)
                  Defendants.             )




                                APPENDIX 4
               TO DEFENDANTS' RESPONSE TO PLAINTIFFS' MOTION

                       FOR A PERMANENT INJUNCTION



                                A-lSI thru A-200
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 polarized voting, such that in this instance Latinos and non-Latinos have different candidates of

 choice. Absent such differences, theallocation of Latinos across districts will not affect their

 opportunities to elect preferred candidates for members of Congress. Second, such polarized

 voting if it exists must be politically significant, that is, non-Latino bloc voting against t.hc

 candidate choices ofLarino voters must be sufficient strong to usually defeat the Latino

 candidates of choice within challengeddistricts. These two requirements comprise what is

 known as Prong 3 of the three-prong Ginglestcst (Sec Lichtman report on Allegations Of

  Intentional Vale Dilution & Racial Predominance In Redistricting, pp.x-v),




  Adopted Districts with the exception of the allegedly packed CD 4.



  even waitll'il~ Adopted CD 4 or withnhP,iainti:fls'   CD ~~ OJ CD 4 "because biselectorat studies
 mingle dre precincts of all thesedistricrs, Dr ..Engstrom slates that, "The raciatdiscriminsiio»

 claimsinthis case, however, focusprimarilyon thetreatment ofLatiiD-osial the geographic area

  eacompassed by 'two versions of CD 4., along with the only other plurality-Latino district in

  either plan, CD 3 in Plaintiffs' Plan." (Engstrom Response-Report, p. 12), In fact, the object in       iii


  cha llcnge to an adopted redistrictingplanis not to decide how ·to.treatLatinos.in a sci I-defined

  "area of concern." Rather the analysis considers whether-or not electoral study sustains 'the

  claims that the adopted:plan dilutes.the votiing,strengHl of Latinos within the districts ofrbat plan.

  S uch Claims cannot be tested. byres,tricti11g,E1na.!ysis
                                             ."   -     ~"
                                                            to an.artificiallycreated
                                                                .
                                                                ' . "     '    ..     "area of concern"

  that explicitly excludes all relevant distric:lsofthe Adopted Plan.

          Plaintiffs' Complaint clearlyIndicates that theirallegations of vote.di lution are not

                                                         5



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                                                                                                                                             I




    The Plan rihltcnliDrilallly .dilures tbevQI\'Y50LL1Jltino voters 'by !p3ckb~g, an ,txc<t'sS<!vc sn;pcf­
    I1H1J;orhy of Latiuo voters Iuto proposed Di:st:riet4ama by :sii:rn u't ,l:an0ousJy reducing the
    growingpercentagcnf Latino voters 'in 'Pirojlosecil Districts::! anGl 5; MailY Latino voters im
    proposed District <\ will see their vote:; wastedbecause ,th~~ ;Plla{linlenii Duall}' makes those
    VO\(:S unnecessary to\':1et:t a cnnditlM~' ~)f tht:ir choice, ,At tlllC sume time, JLatilJd voters :ill
    p:roposed DJstricls,3 ,and .5wm be ;PIe\'~~;nled 'by !thteUil" :inleil.biClnally ,di;l)I];lptS,\het1 .,l1umlb~J:s
    [r",un nJ [I v:ilJg an y s:igu:iJltll:nll'u nmC'lJt:e' iin.dhOO::>:iRg p:lij;mliirj" nncil .gQll~raf e.~ celi on 'CHIiI(b di'ile.s
     air i~he..i:r.dboicc".(i':mpih·H';iisacldctl:l
                      .     . .                  .
                                                                         ".



           Dr, Engstrom' ~anailysisof.ele6tiici:iitSOi}llywj,thiilil [htls            r~\rea.   of GOJi)Cem3 provides no insight

  into 'whe;thcl' Latino vot{:rsin Adopted Districts Ja'l1d 5 are prevented "-from hayjng al1Y




  i nto its CD 3, which is Dol a :majo:rity Latino 'Vo.lingage POJ1YlJt~lion (I:istrlt:t:, prevents Latino

  voters in otherdistrictssuch as CDs 3,~, and J I from having "significant influence" iil electing

  candidates of their choice: to Congress (see Lichtman Report on Intentional Discrimination, p. 8),

           Even if it were relevant to assess racial polarization with the "areaofconcern," Dr.

  Engstrom cannot and does no~ proceed to the secondstep 'ofasso.sSirtgwh~,thcrnon-Latino bloc

  voti ng usua11 y defeats Latino candidates of-cbolce. His composite"area of concern" does not

  COITl'~POlld   to any district or jurisdiction within Illinois.




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 Electoral Analysis Shows That Voting IS 110t Racially P61arited in Most Latino versus
 non-Latino Elections and That Latino Candidates of CIloi,c8, Overwnetm'noty Prevail


         The, analysis of a large corpus 0/' Latino versus non-Latino elections that was conducted

 since the last redistricting for Cook County shows that neither part of the two-part test for vote

 dilution can hemet. In the great majority of contests there is no polarized voting.between Latinos

 and non-Latinos. To the extent polarized voting exists it rarely defeats Latino candidates                    or
 choice even in overwhelmingly non-Latino jurisdictions and districts. Thus, there is no

 evidentiary basis for alleging that the Adopted Plan diminishes the Latino vote.toelect

 candidates of their choice.

          Dr, Engstrom in his response u-port updates his initial analysis of Relections with                    (1


 additional contests. These include-a that I analyzed in my response report to his initial report and

 two additional judicial elections. This updated.sample of elections reinairrs too limited and

 unrepresentative to provide.a reliable assessment of polarized voting, even if analysis were not

 restricted to Dr. Engstroru'sarea of.concern, QL E,ngstrorn'cSstimplc'o[Latino versus non-

  I.. atino elections includes no Congressionalelections. Hissample includes no stale legislative

 electious. Overall, his sample Inclvdes only one ~lc~tionfor!llegishH:ivc position, for u district-

  level county board scat.an extraordinary omission in the context of a challenge to an adopted

  legislative plan G:Jr elections    10   Congress, My initialsampleofLatino versus uon-Latino

 elections included 3 endogenous Congressional elections-and II state legislative.elections, I

          Dr, Engstrom's.sample is heavily weighted toward.judioialelections, which comprise 6

 of 14 selected elections (43 percent), four of them injudicial.sub-circuits, As Dr. Engstrom

 himselfnoted in u scholarlyarticle on judiclal elections, these-elections arc fundamentally

 I There were ucrually.I C<:lIlgr<:$si()n'll.ct¢clion~:initjLilly;but tc.avoiddispute, lhavesinceeliminatcd tile 2008
 primary in CD 3. One candidate had a Spanish.surname. but there is dispute over whether.heactually is Latino,
                                                                  7




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 different from high stimulus legislative elections for the U: S. Congress. "Elections to judicial

 o Dices arc generull y low stimulus affairs," Dr. Engstrom wri res, Candidates in such elections, he

 adds. "are restricted by-ethical canons from certain types of campaign activities, including taking

  positions on controvorsiallegaland/or political issues.vln addition, "Tberuedia's.attention to

  these more subdued campaigns is usually low.rand voters tend to have minimal information

  about the candidates." ln judicial elections, moreover.Dr. Engstrom states. "Not surprisingly,

  many       VOklS       runoff when they reach the portion of the ballot containing judicial conrests.?"

               As indicated in his 'initial and response TBp0l1,                                    Dr. Engstrom excludes from his                              analysis

  numerous Latino versus non-Latino elecrionsconducted since 'l'he last .rlXtflstricting. JFlec"AcluQes:

  I woLarino           versus ncn-Latinoendogenous elections.on th~ grounds thatilaey are non­

  cornpenti ve. As reported tin Table I,. these ir:idlUdeithe:20 10 DCrnGC;rfl~ic p:rllBllJ'Y ;In CD 3 ill



  election in CD 5 in which the losing candidate Pulido received 24.2 percent of the vote.

               In ruy initial reportJ'challeaged these exclusions fo!JackitJ.ga'ilobjectivetlireshold or

  justification through Dr. Engsrrem'spast prabtice.HedidllOLaddtesse!ther~problert1 in his

  Response Report. III UI(:t., hisexclusion 4)f'thcse endogenous elections.contradicts both his past




  'l n~i'1:l~NlI L .E'ilf;'S~~'bl'n ~1TiIr.l Vi t:{oi"~, M t":aI7ilibs, "'Vi~11l>l't ~'nr :jl:UCh:l~i,::~li.;te. :alm:,1 'RtlllJ...iOiff :ian lud'iI:)n~ .i£leCilnIJlH";· :iII
  W'ilUrll '.'t'. C~""ttt.y, d., f-'fJfilila,rPfjrt~1;fp[1rj,m!.' F1.nrJ~rof}iifJ.a1} ;D,ti:mli)z:m,t1j'~G,t't'l1ai~'Tjror..n$19~). ~~;P ~, n-l:n..
                                                                                          8                                                  .



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                                                                                   A154
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                                        Table 1
      15 Latino VS, Non-Latino Elections Included in Electoral Analyses of Allan J,
          Lichtman and Excluded From tile Analyses of Ricllard L. Engstrom


                   r-'---'­
                    ----,_., 2010 DEM PRI M CO NGRESSI, 0 NAL Dl,STRICT3
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                   I_       -_~- 2009 G EN ERAL CON GR ESS'IO NA L DISTR rcr 5                                    "




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                                                                  2008 IDEM PH 'I.MSlAlIF HiE iPS
                    -"'''~''--'''


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                                                                                                                                 I
                    -'                                                                                                ­
                    -----;---_._-' :PlD1 iDEM, iPR'INtSlJGiE IRfiP 2'3
                                        i0                                                                                          I




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                                                                  20NJ ,E.;t€ lNilE. ~ c1\l'ST.A1Tif   lBE(P;~l
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                    1 - - - - . _ - - _..
                                                                  20~10   GENEHALSTATf REPA4

                                                       2006 GENEHAt COQK COUNTYS HER rr F
                    r----:-'
                                                          2010'GENERAL            COOK C,OllNTY 'C LERK
  Americans.' This-report represented h'IS "best pracrice.t'lnthe report r». Engstrom stated that

  liedid   1101   exclude any endogenous elections from his analysis, but excluded some exogenous



  ]   WhcUI~'r   tht: protected minoriry is M:riCi.ll1 American orUli'ii)o uocsnot ulter the priuciples.far conducting.a
  pj)lariZ-<'tI:ion ,11)HI ysis discussedhere,                                                                            '

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 elections us non-competitive because they included "minor candidates." The largest vote for ail

 excluded candidate or group ofcandidates was 13.2%., which is 9 percentagepoints lowerthan

 the vote for Mujica and II percentage points lower than for Pulido. Dr. Engstrom, for example,

 includedin his Louisiana analysis an exogenousjudicial election (200 I primary, Civil District

 .Court Division E) in which the minority candidate (Ware) in a two-person election garnered 18.8

 percent of the vote, according      10 the Louisiana   State Board of Elections, This percentage was 3.4

 percentage points lower than the vote for excluded candidate Mujica and 5.4 percentage points

 lower than the vote for excluded.candidatePulido, In thisca~9.\ Dr. Engstrom included tbe2010

 prim"lry for Cook County Board inwhichtheLatino candidate wah 22%oftbe vote, the 2010

 primary in Circuit Court sub-circuit llin which the Latino candidate              WO!'l   13.9 percent oHM

 vote, and the 2008 primary in Circuit Court sub-circuit 4 in which the Latino candidate woo I 1.5

 percent of the vote. Although these were multiple candidate elections, Dr. Engstrom's

  methodology treats all non-Latino candidates as a single combined group. He does not rcporr

 results for any individual non-Latino candidate or.even indicate thenumberof.such candidates or

 t hell" racialiden l:i ty in My of his tabies.4


            Dr. Engstrom alsoexcluded as.non-competirive twoLatino versus non-Latino

  countywide general elections (see Table I), tbe 2006 election for Sheriff where ihe losing Latino

  candidate garnered 25 percent ofrhevore.and the20J 0 election for Clerk where tile losing Latino

  candidate garnered 22percem ofthevote. These encompassavery-large number ofvoters and

  th.eperceotagcs for the losing candidates werewell.above his.best practice threshold of about J3

  percent.aud the percentagesfor other included-elections in his Louisiana analysis.

             By excluding these four so-callednon-competitive elections, Dr. Engstrom. uotonly

              Testimony Before the Sobcommittee on the Conslilulion of the Committe« Oil the Judiciary, U. S. House
  4EllgS1f(\ll),
  ofRopreslJnlalives, October 25, 2005, pp. 49-79.
                                                         10



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 limits the size and representativeness    of his sample,      but also biases his analysis. 'These arethe

 elections in which Latinos and non, Latinos have formed a strong coalition in support of a

 common candidate of choice, Their exclusionmakes it much more likely thai' any analysis will

 find racial polarization.

         As add irionally indicated 10 Table I, Dr. Engstrom also excludes 5 Latino versus non­

 Latino primaries and 6SLlCh general elections for state legislative positions, the elections that are

 substantively the closest   to   Congressional   COiltCStS.   Dr. Engstrom excludes the 2002 Democratic

 Primury in Senate DistrictZt) because it is not "recent;" even though the election was conducted

 since the comp letion of the last redistricting cycle. He excludes .state House of Representatives

 elect ions in House Districl44, because itis outside          of his "area of concern,'   even-though this

 d istric! is with in Cook County in·Congressional District 8. This district, as noted in my 'initia]

 report, has a Latino population greater than 'Cook County overall arid is eliminated in Plaintiffs'

 plan. He excludes 4 primary elections and 3 general elections in otherState House districts that

 are within his "area ofconcern" because suchdistricts comprise onlya small portion eLI

 Congressional district lind allegedly do riot include.encugh votes to be lIseful for analysis ..

  However, he did not check to seehowthe votes for Latino oandidatesintnesehighly relevant

 elections compared 10 the votes for Latinocandidates in his much less relevant county board and

 judicial sub-circuitelccrious.He alsodid not check whetuerLatinocandidatesin the stale

  legislative elections were more COi:tipctitive than Latinocandidates in his county board and suo­

 circuit elccrions.'

          Table 2 below sununnrizes the result of any inquiry into racially polarized voting and

  pol i tica II y significantracially polarized voting for all .29 Latino versus.non-Latino elections ,



                                                        II



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 included in either Dr.Engstrom's two reportsormyresponse report to Dr. Engstrom's initial

 rep0 1'1. This corpus of elections included more than twice.as many contests as the 14 election S

 ana lyxcd in Dr. Engstrom's updated sampleof elections. Itincludes endogenous as wen as a

 many different types of exogenous elections and is not unduly weighted toward judicial

 elections, which comprise-only 6 of29 contests .

          .The results reported in Table 2 and-depicted in Chart I show thatvoting was racially
                                                                                                             i
 polarized between Latinos and nou-Latinos in only 11 009 Latino vs. non-Latino elections.

 ·thus   VOll.llg   wasnol polarizedin62 perceatoftheseelecrions.In some elections such as the

 20 \0 general election in Representative District 39aild the 2010 primary for Cook County

 Assessor voting       WHS   polarized by just a few percentage points. As also indicated in Table 2 and

 Chart I Latino candidates prevailedin 24 cif29 electiona.which is a win rate Of 83 percent

           Alrhough sub-circui t judicial elections-are only remotely relevantto this inquiry into

 districts for electing mernbersof'Congress, fer argumentsake the>' wereincluded in the election

 analysis depicted below. As depicted in Chart 2, the study of a more probative.sample of25

 elections, not including the sub-circuitjudicialelections, demonstrates that voting Wl1S polarized

 between Latinos and non-Latinos in only 7 elcctions,of2Selcctions. This indicates tharvoting

 was not po larized in 72 percent ofthe mereprobative sample of'elections. As ~1~9 -depicted in

 Chart 2, Latino candidatesprevailed in 22 0(25 ofthe more probative elections, which is a win

 rate 01'88 percent.

           Table Jand ChartLisolate only th9se'¥legtiQDsc;ouclucteq inJ',:!risdictionsand districts

 that were 70 percentor-mere non-Latinoin their voting age population. The results of this

 antilysis show that only one ofsixteen candidates
                                          ..       ofchoiceof
                                                      .       Latino voters were defeatedin

 Latino v, non-Latino elections held in districts.or junsdictioilS 'that were at least 70pcrccI1t non­

                                                       12



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                                                     A158
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    Latino in their-voting age population. Thus Latino candidates of choice prevailed in 94 percent of

   these-elections.


                                       Table 2

           Summary of Racial Polarization Analysis: 29 Latino v, Non-Latino

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            '2010 PRIM C'03
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           2:0016 'P'RI:M RE'P' '3'                                       !NO                 De~gad;o        I         YIPS
 --_P--~~'~'~--
           200B PH J MH EP3                                               NO                   .Alrroyo                  YES
          2'Om PRI.M.IUP:2                                                ND                  ACBveaH                   YES
         2010 PRIM F! EP 23    I-~                                       YES                    BurRe                    NO
 •••• •.••._ •..•••,••_ _ _ _ _'n""
   ~_




                                j                                         NO                 H,Brnand,ez
                                                                                                                                           --
             . GEN REP 24
 1..----­ 200J6                                                                                                         YES
          2006 GflN R EP44 I                                              NO­                  Gr'espo                  YES
          2008 G,EN REP 39                                               'NO                   Barrios                  YiES
          2008 GEN RE~~i~____.l                                            NO                  Gr:espn                  YES
          2010 GIN REP 39       1                                        YES.                  Berrios                  YES
          2810 GEN REP 44                                                "1'\10                'Crespo                  YES
    2010 PR~ M 'GO BOARD 10 16                                           Yif,)                 Garcia                   NO
            2008 PRIM COOK STATT                                         YES                   Alvarez                  YE$
             2008 PRIM COOK ASSR                                         YES                   Berr-ios                 YES
             2000 GEN COO K SHER                                          1\1.0                  O:art                   Y~S
             2008 G.E N COO K. STATT                                     NO                    Alvarez                   YES
              2010 GEN COOK ASSR                                         NO                    Berries                   YES
            2010 GEN COOK CLERK                                          NO                      Orr                     YES
             2007 CHlgAGO CLERK                                          NP                   Del Valle                  YES                    1
               2011 CI:i IGAGO CLERK                                     I'HJ                 Mendoza                    YES
            2011'CHICAGO MAYOR                                           YES                  Emanuel                    NO'
           20'fOPRI M CIR CTSU 811                                       YES'                 Martinez                   NO
          20JO PRIM CIR CT RAMO,S                                        YES                   Ramos                     YES
           '2008 PRIM -CIR CTSUB 4                                       YES                   Aguila,r                  NO
             2008 PRI M CI~ CT SUB' 6                                    YES'                  Arauto                    YES
  '-­
           200B;PRI M CLR CTR EY ES                                      NO                     Reyes                    YES
             2006 PRI M               CI ao TSU B 6                      YES                   Ocasio                    YES



                                                                               13




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                                                                         A159
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                                     Chart 1
  Polarized versus Non-Polarized, Latino vs. Non-Latino ELections, Victories vs

              Defeats for l.atlno Candidates of Choice: 29 Elections


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   25   ! ...._ ...._-'_..__._._._­
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   lS   J..,--          -,_ ..""",,--­
                                                           ,. Polarized

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        I
        ·f--,",--,-----'---~-
        !
                                                           m Non-Polarized

    5   ~----,--~----                                      II Defeat


    ° II            -.r""------r-
                                                           til Victory
                                         latina v. non­



  L,
                                        latino

                                            Elections
                     -...l




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                                      Chart 2
  Polarized versus I~on-Polarized, Latino vs. Non-Latino Ejections, Victories vs.

      Defeats for Latino Candidates of Choice: 25 Most Probative Elections


   2S .,.....-----......- - - - - - - - -    .---------­



   2O~-'-.--
   15   t-···--------"'--',-·­
                                                           II Polarized
                                                           I! Non-Polarized

                                                           II Defeat

    o . -------.---­
               _·r
                                                           IlVictory
                                  Latino v. non­ 

                                      Latino

                                    Elections





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                                       Table 3
    Summary of Victories VS. Defeats for Latino Candidates of Choice: 16 Latino
 _.. v. Non-Latino Elections Held in 70%+ Non-Latino Districts or Jurisdictions
                ELECTION                             WINNING                        CANDIDATE
                                               1    CANDI DATE                      o FC HO ICE
                                                !
                                                                                    OF LATINOS?
                   2010 PRJ M CD3                        Liplnskl                         Yo ES
             2009SPE CIA l GEN CD5                       Quigley                          YES
                 2006 GEN REP 44                       - Cresno                          YES
 _ ..             2008G EN REp 44              1
                                                i
                                                         Crespo                           Y'ES
                  2010 GEN REP 44               I         Crespo                   '"
                                                                                         Y,E$
             2008 PRI M COOK STATT                       Alvarez                          YES
              2008 PRIM GO Q·KASSR                       Bar tics                         YES
              2006 GEN COO K 'SHER                        Qart                            YES
              2008 GENGO,O K ST ATT                      Alvarez                          YES
 1-.._ - _ "
               2010 GENCO 0 K ASSR ' , - ,..
                                                         Berrios        _ _ .o¥
                                                                                  "'M'
                                                                                          YES
  ........

             2010   GENCOOK CLERK
              2007 e HI c)i;-Go"c LERK
                                                I --,
                                                         D~I
                                                            Orr
                                                             Valle
                                                                                          YES
                                                                                         Yrs
                                                                                               -_
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              2011 e HIC AGOe LERI<                     lV1'endOia                       YES
              2011 CHI GAG a MAYOR             -f--.
                                                         Emanuel                         NO
            2010 PR /1\11 CIR CT RAMOS                    Ramos                          yES
            2008 PR 1M CI.R CT REYES                       Reyes                         YES



                                              Cha rt 3

     Victories    VS.   Defeats for Latino Candidates of Choice, Latino VS. Non-Latino

                           Elections Held in 70%+ Non-Latino Districts


     16
          --------------------------
     14   +---­

     12   'f-----------'---­
     10               ------------'

      8   +----------------;
                                                                                               • Defeats
      6           --.-------­

                                                                  -~-----.Victories




                                                       Latino v. non­
                                                    Latino Elections


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                                                               A162
                                                                                                                  ',',   ,~   -'.   ,
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                                                                                                           j
                                                                                                           I




         It is also important to indicate: that Dr. Engstrom uses his updated analysis to defend

 opportunities for Latino voters in plaintiffs' CD 3 by noting thatthe following Latino candidates

 or-choice received at least a plurality of ihcvote within the precincts of Cl) 3: Berrios in the

 20 I 0 Assessor primary, A lvarez in the 2080 State's Attorney primary, Ramos in rhe 201'0 Circuit

 Court primary, Reyes in the 2008 Circuit Court primary, Berrios in the 2010 Assessor general,

 and Alvarez in the 2(J08 Slate's Attorney general. However, heprovides no comparative

 analysis, As demonstrated in Table 3, every onc.of'these candidates also wonat least 1.1 plurality

  01' the vote in Cook Couury.overallwhich is on:Jy 21 percent Latino inits vutingage population.

          Dr. Engstrom alsouses his updated electoral mialysislbreanalYlc votes for Latino

 candidates in alleged "packed" CD 4 in the Adopted.Planand allegedly "unpacked" C.D 4- in the

  plaintiffs' plan. This-updated analysis is reported in Table 4. This table has two entries for the

  20 I0 pri mary fOJ' Cook County Assessor, This election included two Latino candidates and Dr.

  Engstrom reported the, results both for me candidate of choice of Latinovoters and for the two

  candidates combined,

         For candidates of choice, Table 4 indicates. that themean percentage difference between

  the two versions of CD 4is only 3,3percer.lt. In the 2010 Assessor primary the Latino candidate

  of choice actuallygarnered a greater share: of votes in the alleged unpacked plaintiffs' CD 4 than

  in the allegedlypacked Adopted CD 4, The two greatest differences between results in Adopted

  CD 4 and.Plaintiffs' CD 4 are. for judlcial elections. The 2010prirhary for Circuit Court

  (Ramos), for-example, shows that Ramos received i1     lower vote by9~9<pertelnagcpbi'otS in
  plaintiffs' CD 4 - by far the largcstditlc'rchce ill the analysis, However, this v;otlld hardly be

  indicative of rwasted' votes; Ramos garnered 39.6 percent ofrhe YOre in plaintiffs' CD 4,


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                                                 Table 4
         Dr. Engstrom's Results fprhis Analysis of the Support for Latino Candidates in Adopted
                                                                  . ... :i Plan .
                                         , . 4andGD 4UndctPIaintiffs
                                        CO
 ­
 .
          ELECTION             LATINO                     % FOR             % FOR LATINO         DIFFERENCE
                            CAN 0 IDATE(51                LATINO            CAN 0 I OAT E(S)
                             OF CHOICE                t'ANO I0 ATE(S)            COA
                             OF LATINO                OF CHOI CE IN          PLAINT[FFS'
                              VOTERS                       CD 4                 PLAN
                                                         ADOPTED
 ._­                                                       PLAN
          20.10 DEM           BERRIOS                     49;8%                  ~2.7%               ;-2.9%
      PRLr\'l COOK
     CO ASSESSOR
 --20"1       oo130M         BE·'RJ~[OS &                 ;~13;2rx,              80.0%               :3.2%
         PRIM   COOK         FIGUEROA
     CO ASSESsbH~.           COMBlNED
                            - ALVAREZ -
                                                                                    -
                                                                                               1-.
          2008 DEM                                        45.9%                  42.0%,              -3.9%
         PRIM COOK
         CO STATE.'S

             An'

          2010 DEM
            RAMOS                      49.5%                  39.6%                -9.9%
           PRIMClR

            COURT

          2008 OEM
    -
      REYES

                                        ~----   ..

                                                          68.6%                  63.3%               -5.3%
           PRJM CIR

            COURT

           2010 GEN           BERRIOS                     52:9%                  52.1%               . -0:8%
          COOK    eo
 ~.~_.
          ASSESSOR

           2008 GEN
                               --
                                 ,.. ._¥_..­
                              ALVAREZ                      74,4%
                                                                            _.   n.s%                 -2.9%.
                                                                                                                •.

           COOK eo
         STATE'S,ATT
         All Elections
                                   56.85%                 53.53%               ':3.3%
           Candsof

            Choice

         All Elections
                                   62.4%                  58.1%                -4.3%
         Catino Cands

                                                                        ,
          Combined
           Source: Expert Report of Richard L. Eil~ti'om. Sept '15,2'011, ;p:12,Expe.rt Response
                        Report of Richard L. Engstrom" Oct 15,2011, pp. 1(j-17


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 whereas the non-Latino candidates as a bloc won 60.4 percent. In three of six elections the

 Latino candidate of choice received a plurality but not a majority of the vote in Adopted CD 4. 6

 Or. Engstrom's New ClaimsRegarding Intentional Discrimination Cannot be Sustained

           Dr. Engstrom also presents new claims regarding the racial concentration                  or Latino voters
 in pl:.1intifTs' CD 3 a" compared to Adopted CD 4. In my initial report, I indicated that the

 movement of population in and out of plaintiffs' CD J and Adopted CD 4 shows that the former

 unlike the latter is predominantly driven by race. In response Engstrom claims that CD 3 does

 [lot subordinate rradirional redistricting principles, because it is compact. Yet a racially

 gerrymandered disrrict may be perfectly compact. Compactness-is only an indirect indicator.

  Moreover, other than compactness, plaintiffs' CD 3 as compared to Adopted CD 4 subordinates

 severn! redistricting principles. Plaintiffs' CD J splits the counties of Cook and 'DuPage, whereas

 Adopted CD 4 splits        I~O   counties. Plaintiffs' CD :3 splits nearly twice as many precincts and

 ncarty three times as rnany border precincts than Adopted CD 4, creating more voter confusion.

 Plaintiffs' CD 3 preserves much less of the core of an existing district than does Plaintiffs'

 Adopted CD 4. Unlike Adopted CD 4, Plaintiffs' CD 3 does not protect the only Latino member

 of the Illinois Congressional delegation. Generally in the area of plaintiffs' CD 3 and Adopted

 CD 4 the Adopted Plan preserves the core of the districts better and protects more incumbents.

  (sec Lichtman Report on Intentional Discrimination, pages 32"34, and.Lichtman Response

  Report to Engstrom Report, Maps I and 2). The splitting of precincts in plaintiffs' CD 3 also

  divides along racial lines. The portion of the split precincts retained within CD 3 is 3 J percent




  (, The combination of the-two Latino candidaresin the20 lO Assessor primary increases the mean difference
  between the districts only by a single percentage point. Given rhat Dr. Engstrom didnot explain his methodology
  for dealing with split precincts. J could not verify the percentages in· Table 4', but nrcsimply taking percentages from
  01'. Engstrom 's response report.                                                .                              .
                                                             19



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 Latino VAl'. whereas the portion of the split precinctsallocated to other districts is) 9 percent

 Latino VAP, for a rucial gitp of J2 !7'::rcenrage points insplit precincts alone.

 Now Census Data Sustains Rough Proportionality for Congressional Districts in Illinois

 The United States Bureau-of the Censusreleased in late September its 20 I0 data           011   citizenship

 status: bnscd on its American Community Survey. This data is not incorporated in any reports of

 plaintiffs' experts and I did not have thedatu at the time of my initial report. Based on this data

 the percentage of Latinos in the citizen voting age population in Illinois is 8.7 percent.

  Multiplied.by 18 Congressional diatricts-tbjapercenrage equals L57Congres.sjona.ldistiiCts,

 which is less than one tenth of a difference (TOm the ·1.48 reported in myinitial report, which was

  based on data from the American Community Survey from 2005 to 2009. The State clearly

  remainswell within the range of ruughproportionality forthe drawing of effective Latino

  opportunity districts. Like: other Census citizenship data. this latest data is based upon a sample

  thatis highly accurate at the levelof the state as.a whole. The error margins are within a few
                            ,.

 lcrlfhs of one percent,

          This 2010 .statc-level citizenship data is nOI subject to any Qfthe allegedcriticism of the

 S-YCat American CommunitySurvey f.rom200S to 2009. While the ACS citizenship data is

  based on samples, and not ennmerstion.so was the.Census citizenship data. The ACS datu is for

  the latest Census.year. It is for the state overall so it does :60l require the measurement of

  citizenship oJ lower levels of Censusgeography.Ir does notrequiretbemapplng 01'2000 Census

  geography on 2010 Census geographyt\vhic:h could be-achieved if it were necessary). It isalso

  unaffected by age disrributions.siuce it is for a single year. The 20 I0 data   011   Latino citizenship is

  also consistent with the 200S-2009data in terms oftheresults derived (see Rebuttal Report of

  Peter A. Morrison, pp. 7..:.9).

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       All an J. Lichtman                    Date




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                  Expen Report Cor Committee for a Fair and Balanced Map, et al,
                               v . III inois Stale Board of Elections


                                                      by


                                             Richard L. Engstrom


                                           Visiting Research Fdlow


             Center for the Study of Race, Ethnicity. and Gender in the Social Sciences

                                               Duke University





                                               8ACKCiROVND

         My name is Richard L. Engstrom and I am a resident of Durham, North Carolina. I am a

  former Research Professor of Political Science and Endowed Professor of Africanu Studies ut the

  University of New Orleans. I was employed as a consultant at the Center for Civil Rights at the

  School of Law, University otNorth Carolina, Chapel Hill,from 2006'thrOllgh 2.007. I am

  presently a Visiting Research Fellow at the Centerforthe Study of Race, Etfinicity, and (lender

  in the Social Sciences at Duke University. I have served        I\VQ   terms as the Chairperson of the

  Representation and Electoral Systems Section of the American Political Science Association,

  from 1993-1995 and 1995-\997, and served as a member of the Executive Council for that

  section [rom 1993 to 2007.

         J have done extensive researchimo the relationshipbetween election systems.andthe

  ability of minority voters   to   participate fully in the political process and to electrepresentatives

  of their choice. The results of my research-on this topic have been published in the A mer icun

  !'olititol Science Review, Journal ofPo lilies. Western Political Quarteriy. LeRI~vloliVe St udies

  Quarterly: SOCIal Science .Quarterly. Journal of Law and Politics, Electoral Studies,

  Representation, Saint Louis University Public Law Review, and other journalsand books. Three




                                                                                                    EXHIBIT   No.L
                                                                                                     IO/~5k{ /tK.~.
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                                                                                          -v",




        artie les authored or co-authored by me were cited '.'lith approval in ]J:iomQl.Irg v. ~:;illgles, 4   n
        lJ.S. 30, at 46     II.   11.49 n.15. 53 n.20, 55,and 71 (1986)" ihe Supreme Court-decision interpreting

        amended section 2 of the Voting Rights Act. l.arn the co-author, with Mark A. 'Rush, of Fair

        and Effective Representation? Debating ElectoralReform and Minority Rights (Lanham, MD:

         Rowrnan.and LittlefieldPublishers. Inc. 200 I), A copy of my curricu ILIm vitae is attached as

         .~ppC'ndix   13   to   this report.

                   I have also testified as an expert witness in numerous cases in federal find SIl1[C courts

         across the United Slates. Since 2005 I have tesrified at trial and/orbeen deposed in the following

         cases: Pender County v , Bartlett (General Court of Justice. Superior Court Division. County Qr

         Wake, NC 2005), AriseforSocial.Justice v, CityofSpringJieldarid
                                                      .        .      ,
                                                                         S'pringfield Election

         Commission (D.C. Mass. 200$,2607), Gonzalez-v. SUileofAri'2;onii (D.C. Ariz. 2008), United

         States of American and Cesar.Ruiz v.. ViHngc pfPortChcslc'i'(S.D.NY 2008), United Scates of

         America v, Euc!id City School District Board ofEducatiotland Cuyahoga CounTy ab.ard of

         Elections (N .0. Ohio 2009), Benavidez v. City.cf.ltving, l\:xas(N.O. Tex. 2009), Benavides v

         Irving IndependeruSchool District, TexascN.D. "rX2(09),nnd Texas LminoRediS'lnClil'lg TU$~

         Force v ..Perry (W.D. TX 20 I 1).

                                                    Q1JESnONS ANALYZED
                                                                                                                          j
                   The auomeys ror the plainliITsin (his casehaveasked rne-roaddressseveral matters. The                  I
         first   is 10 analyze the extentto.which the 'Candidate preferences ofLatino voters differed from                1,

         those of other voters in the.area from which Congressional Dis'ttkl (heteinat'te.rCD) 4 in the new

         congressjonal districting plan adopted by t~.e state o( U,Iinois (hereinafter Adopted Plan), or CD 3

         or CD 4 in the illustrative remedial plan'presentcd by the pLiiiniiffs in this'liti~ation (hereinafter

         PJainliffs' Pian), were created, CD ,j.·in each pJanis aI1lajori/;y-L-a~im.) distric: in voting age




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    population (VAP), and CD J in the Plairniffs' Plan Is the only district in which Latinos constitu«;

    a plurality of the VAP, but not majority, in either plan. CD 3 and CD 4 in the Plainiffs' Plan ami

    CD ~1 in ihe Adopted Pian encompass areas             within which Lauoostend to beconcentrated. This

    therefore is the areaofconcern fiJI' the raciallypelarizedvotinganalysis. The extent to which

    voting might be racially      polarizedino~herareas         of ihe state has no impact on-the drawing of

    districts withi n this area.

             The elections una1yzep for this purpose were the rnosi recent elections in which voters

    within Ihis area have been presented witha choice between or among Latino and non-Lai ino

    candidates for offices within Cook County in which voters in a large portion of the area at issue

    participated. All of the .elections-are ones in which voters have a single vote to 'cast and on ly one

    candidate wiil be nominated or elected, as is the case in congressional elections.                     lhc elections

    analyzedarethe 2006, 2008,and2010 DemocraticprimariesforState's Attorney; County

    Assessor, District 16 for the-County Beard, !.ilid four 'judgeships inSubcircuits of the Cook

    County Circuit Court.' In addition, the20J I election for-Mayor of Chicago is analyzed as-well.

             I also have.been.asked       to provide a comparative assessment ofthe opportunities Latinos                        "




    ha veroelcct reprcsentati yes oftheir choice in-the majQrity-l."lI\ino districts in each pl:ll1,andto

    compare the relative electoral.opportuniries provided by the second most Latino.districts in VAP


         I   If damare available, I plan to supplement thisT'tponwiihana.l)'seso( the votes-can In the area for the 20 I0

         general election for Counry Ass~ssC\\' and {he:1.008 generalele¢tion for State's Anorney, both of;""hich were

         more-cornpetltivegeneral electionsthan usual in Cook County, with the winning candidates receiving 48,0

         perccn: and 60.8 percent.of {tie "'OL~ cast.in them. In additiort. if data are available, I plan 10. supplemcru this

         report with analyses of Demo eralie primary elections fur two counry-wide-comests for Circuil Court

         judgeships, one in 20 I0 und.one i02008. All ofLhesecleclionsi1!so present voters with 11choicebetween or

         among L;HinO Md non,Lllrinoc;u'ldidiltes.

            Not includcd in the analyses are two elections in which Lalillocandidlilcs were .not COhlpetiiive. These- were

         Ihe.2006 t)emoemlicprima~fora Subcircuit "lsealon'Lhe CirclJifCourt, iii whiCh nLalinocandldalc received

         5,2 perceru of the vote in iI four-person contest, and'Lhc20'LODemocfUtic primary for CD 3" in whic h a. Latino

         candidate received 22.! percent' ort~e vote ina two-perscncornest.




                                                                3




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         in each plan. These analyses cntai! examinations of not onJy the demographics                                        or the-districts.
         but also the results of past elections in the variQ\ls versions of CD 4thathavc been in place, lind

         (he results of votes easi in other elections within-the geographical area of CD 4 in the Adopted

         Plan and the. Plaintiffs' Plan and the geographicat area of CD lin the.Plaimiffs ' Plan."

                 1 am being compensated ata l'atc·of$300an hour fonny work in-this case,


                                                   RACIALLYPOLARilZED VOTING




                 Tht: data used in the a.naTyscs orthe candidateprefereaces ofLatino and othervoters

         i nclude the numbers of votes cast in the precincts for the various candidates in these elections.

         These data were obtained from the Defendant, State Board                               (J   rElections, Cook County Clerk and
         Chicago Board of Elections, These election returns are matched, by precinct, toadditional data

         reflecting the relative presence of Latinos and others in the voting age.populationof the

         respecti ve precincts, based on the 20tOCensu's ofPopuhllion.)

                 The estimates of the extent to wbichxhe t:andhiate preferences 0 [the Lat ino voters

         di ffercd from those of the non-Latinovcters in these elec:lionshave~.en deri ved through a

         methodology developed for this purpose                     by Prof!=ssor Gary King subsequenttoJ!J:l.<!!t'!burg v.

(
         Gingles [4l8 U.S. 30(19'86)].               T!Jis procedure is knoWn~Ecologicallnferencetu1d                                  is superior
.'




              1 Ap:pl'ndi,.t A HHhi~ reppn cOllt<llns (he [[l(lsand d:l:!l-llrtilil:\1uplifl         ("'reach my (jpin~ons and conclusions in
              this case.                 .

              I 1I.n anl11.r~es,6f'lhjSi>i-.tjt JSllOlWlct>U1lTltm to fimi.!1kiulhm: are lPToblellis \ililh rlw·mulchingoJ predtlc(
              Ut71)llgraphits. ;lO<!. Pft'e\r.Cl d&:ClljoJ:\ >rt'~um$, This 04$- ort:\t.rr.ec! ii'l;! tbfsalllllys'is :IS wett 'Some prcClint4s tlre J($Ied
              as hil'i'ii'llg mQre VOles t:~\~t 1111I1eHuihan'VOling1ige p~';lllll>:ra residing in tbClJi. MOSt~l.lt:h lltt:cinc~ are
             reporsedto have 1\0' pcopl.eof v9,tJl!gtJg{~wi$~:1Jithl:U1, 'Of '\'C" few. Th~e ~lhtt!. ;ltti"4e 'bt."ef,lcxtllldO;d fr\.,.m
             'lhf" analyse!,. 1.)e,\lP~~C o!lI.c'ir exclusion, the IP('.n:C,"lag.~~ (;lfthe von:s ~al.t'Jlan c'h:;t~~tHl'lht11tl!"t" ;n~·\uJ.cil in lht
             follOWIng 'M\3Hy~s raJIgefro~88JQ.'Pri:Jt(.Tit 109'7.3 penent.                          '



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               (BP) and eco[logit:ui regression analyses (ER).4

                         an thecounty-wide ckc:t{o,ns,il1 whichall oflhe"DlcrsinCool(C~)UI1ly:res\dil1gin the

               area of interest ,:an participate, there is Stif!lcieh!· presence of Aftlc:an Americans in the precincts .


        .. ­
. ~... ~-
               to prov i(k're:n~mnahly precise estimutesefiheir candidate preferences, and therefore lhey are

               included-us a voting group in thernultivariate m analyses ·ofthescelec(1oJ1s, Tnese.anaiyscs

               provide estimates     for the candidate preferences.of Larinrrs, African Americans, and the
               n:muining voters. This-is also the case for the Chi~ag() mayoral election. The presence of

               Africt'mArri,cncans is not.sufficient, however,         to provide reasonab'lyprec(sc;estiniates oftheir
               candidate preferences.in.theprecinctsin the areaofinterest in l)islrict16 for ;(he:CClunty Hoard

               or within the Circuit Court subcircuits. Theanalyses,oftiheseeleclj6ri.sthe,tefore will be bivariate

               applicationsof [:J in which estimates of candidate preferences willbereported for Latinoand

               non-Launo voters, with the later group including African Americans.

               Results

                         The. results oftbe analyses-are reported in Tables          r and2 atthe end of this report.
               Identified in the firstcolumn of these tables         ate the year and typeof.election being analyzed, ~U1d

                    4   HPanalyses simply report the percentage of Ine votes received by.a candidate or set of Candidates within the
                     precincts in \\;hlc:h~ Pan{cutar g,ro~r> consrlrutes over 90 perc.eflt:ofthevoti~afl,e population, Voters. in such
                     pfeclnctsniigntno[vote iII {lSimi.larv,'ay UHhatpfYOlef$residitig ini'llilied precincISnq\l.·ever. E;R derives
                     esiIrnates, based on all of(he precincts, through a.linearmQclelpl'errli$¢<j 4n thehOtj()!1th~t-ihe pertemages of a
                    group's voterswhovote foi: a particular'candidaleor:(:ahdidlltesarc·the Slltne:inevery p~met;m also relies
                     on every precinct bur.does hot tetrOIJ the lil'l.eara~Suihption. It emplo)'s.a maXimum likelihood model for
                    deriving estimates ratherthana linear mOcleLThe £J PfC!cc<,iurefurthetim:orpordtes the ;mclhodofbounds'in
                     ttie analysis. wh,ichprecluqcs group estimatesCtl1me~ceeding.rear world limits, suchas estimates of a.group's
                    support fora candidate or group .ofCtindidales being above l'OO;Opeic:enl.orb¢,IQ"V O,C.percen[. ashilppen5 with
                     ER. EI, which can also be usedfor other purpo~5, is, ~qwused widely in racially pqlaril-eel vOling analyses:
                     El is the sUbjecttlf Professor King's book. A.SoJulimlmil)..t.£illqgjcallnfereow Pmbl~m:Recon$ll'Ucqng
                    .Ir1diliiQiJall3ebavior fromAur.\1Z!!e Data (Princeton University Press, 1997). On the superiority of EI over
                     E.R for assessing differences in the candidatepreferences between or among groups of voters, seepp, 15-/6 or
                    this book



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   the surnames of the Latino candidates. The other columns contain the results of the analyses [or

   the respective group ofvoters. The firstnumber in each cell inthesecolumns identifies, in

   percentage terms, the point estimate for a grciup'S,siJpportforthe Latino-candidates or candidate.

   The point estimate is considered the best estimate based on the EI analysis. Reported

   immediately bel0''''' each point estimate-is the-range of the 95percentcorifidencc interval around

   that estimate. The confidence intervalidentifies the range ofestimates within which we can be

   95 percent confident, statistically. that the true   vil.JlI~   of the percentage vote for a cand i dare or set

   ofcandidates by a group falls. Thepoint estimate is the value most likely to be the true value,

   and estimates within the range of the confidence interval ani less likely to be the true value the

    further they arc. fran) the PQlhtcsthnatc;[ \';111 thereforelocus.on thepoint-estimates in my

   discussion (If the: results.

                Table I contains the results of therriultivariatearialysesfnr .the.county-wide elections and

    the Chicago mayoral election. Thepreference of Latino voters in the area of interest for Lat ino

   candidates is stark in this table, In all three elections Latinos are estimated to have cast over 80

    percent Ill' their voles for a Latino candidate. In the two elections with two Latino candidates

    Latino voters-are-estimated to have-cast close to 6.~ percent-of their votes fof Mr. Berries in the

    Assessor primary, and a piuraliryof'their V01e5i 46.0,per~i1t, fer.Mr.Chico in the Chicago

    mayoral contest.

                African American voters did not share this preference in any of these elections: In the

    Assessor primary the-only candidate competing withthe rwo Latino candidates was an African

    American:       She Was t.h~irch9iceinl~)al,el~ction;.r~c{:jvingarlestimat~
                                            .    .   '..    .
                                                                                62 pe:rcentof\heir.votcs,
                                                                                "     . ..              .



    1\ frican   Americans also did not support Ms. Alvarez. in the. State'5 AttOrney contest-There was,
    no African Americancandlduteinlhatprimtu'Y; Ms. Alvarez's opponents-were two white




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   cand idates. TIJ(~ estimate (51' her Afriean American supporti» that electiouis 16.7'p"::rcentage

    pnints. African Americans alsodidnotsupport the Latino candidates for Mayor of Chicago,

   casting an estimated 8:6' percent of their votesforthem. This election wasulso contested by

    three African American candidates and one white candidate. Their candidate ofchoice of the

    African Americans voting in this election was the white candidate; who received anestimated

    63.7 percent of-their votes(CT '" 58.9 to 68.4).

            'The remaining voters, identified as "others" in the l.~lhle" castan estimated 8 J pc:rcentor




    in whidlNjs. AIvarez feced.rwowhitecsndidases, her support from the other voters is ~~s6m.aloo

    to be 23.7 percent.

            Table 2 contains theresuhsofthe bivariate analyses for tneCountyBQ4rdDistnct ~6

    primaryandthose for the CircuifCourtsubcircuitjudge'ships. lnall five                      of these primaries
    Latino voters have cast an estimated.majority of their votes forLatino candidates; in the four

    most recent prirnaries, those in 2008 lUJ;tl20l0, their suppOrt for thesecarndiiiatt's ranged frcman

    estimated 68 Apercent to 84.1 percent, This preterence.wasnot sharctH:>yllhe non-Lat i 110 voters




         ~ Tbewhire candidate, who was.also IheclJndjda,te.'~f C'hoke QfAfTilmn Arnerieano-orers, InCI't'fore received
         themos; votes :01'any candidate in this eJcction. 42.9 percent,.frorn.ihe voters residing cin ,the area OnmelrC$I.
         The two t.atino candidulcs'coll1binedreoeived ;5:1., 9 percent: .



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                                                            A174                                                         D-31
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    in any of these primaries. In the fourrnosrrecem, the highest.estirnateofthendn-Latino support

    fOT   any of theLatino candidates is 16ApcrcenL



              Based on the results of the; cii!,ht elections analyzed lconclude that there is racially

    polarized voting in the Democratic primaries in ihe area from which CD 4 in the Adopted Plan

    and CDs 3 and 4 in the Plaintiffs' Plan have been created. The preference of Latino voters

    residing in this area, forLarino candidates in these primaries isunrnisrakablc, anq it is not a

    preference shared by the other voters in thearea. These primaries decide who receives the

    Democratic nominations within the area. u very valuable designation in this largely Democratic

    area. ~ The.relati ve presence of Latinos in-congressional districts in this area therefore will be                        ;l


    major factorin whether Larino voters are able 10 elect the representatives of their choice from,

    this area to the U.S. House of Representatives.

              In addition, the 2011 Chicago Jnl'l)'oral election further .shows that the ncn-Latino voters

    in, the area would have prcventuq the Latinocandidateof choice-from winning that election if

    only the VOles cast       by voters in the area were counted. The two Latino candidores received

    strong suppon from Latino voters, wi~h Mr. Chico their clear prefcrenoe between them. African

    Americansprovided only minimal support forthe Latino candidates however, instead providing

    solid support for the whirecandidateinthe race, who wasalso the choice Of the other voters.

    who provided close ~o a m;:tjQrityoftlleir votes lorhim.




           ~ In the 2010 statewide general electlcn for Go vernor, .flii'.e~al11ple, the Dcm'o<:l'!llic candidate received ~ 5.0
           percenrof the votes cast{or the two    major partie~witliinlh~   version ofCQ 4 'in the Adoptc(l Plan,    andthe
                                                                   r
           Dernocratic candidate for U.S.Senator r~ce!ved 74, percent 0 r the-two-party vote. 'lo the "mio~ or CD 4 in
           the Plainliff$' Planthose candidates received 70.5 percent and6j;;4perccJ1t of the ,two-party VOle cast intheir
           elections, respectively. In the "ersionofCD:} in thePlaintiffs' Plan. those respective figures were 68.6
           percentand 67:6   percent,                                             "


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                                                               A175                                                           0-3\
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                     ANALYSIS OF THE DIFPERENT VERSIONS OF' CDs 3 AND 4



           The version of('04 in the Adopted Planretains the "earmuff' feature .01' this district thHI

    has been in place since il was included inthe '[991 redistricting.plan adopted bythe Statc:,7 The

    district had a Latino VAP Qf59,2 percental that lime. The "earmuff" remained a feature: of the

    district in the plan adopted in 2001ns well.undat the time ol"the2010 census the Latino V AP

    percentage of CD 4 stood at 68,1. It-had become a packed district. During this time a Latino

    Democrat had been elected in the district ill all 10 elections.. I.t was thesame person every time,

    Luis Gutierrez who has not faced anyoppcsition in the Democratic prilOalo/ inihe lastfour

    elections, and won the last general.election with 77A percent of Ihe votes; his worst performance .

    since 1994. The district has clearly been aneflcctive "Latino district't the entire lime.

            The version of CD 4 in the Adopted Plan reduces the Latino VAP percentage in it by just

    2.2 percentage points, 1065.9: This was accomplished by.incrcasing.rhe district by a net of

    85,403 in VAP. with 531 percent of that.increased YAP beingLatino. Itno doubt remains an

    effective Latino district, but-docsso.by rnaintaininga percentage of Latino voters within it that is

    ·high~r than necessary toprovidt:,l.,.atinos.w'th.aviablc opportuniiyto.elect representatives of

    theirchoice. In other words, the disrtidis packed in a waychal',\vastet;"'Latino VOles.

            The district, as noted above, w.as'S9,2percern Latino in YAP at the time it was adopted.

    In the first election in it, not surprisingly"given that hiBi.\perc~ntugeofLalin:os,nnd the explicit

    reason for its creation beingto facilitatetJi¢;clccti<mofaLa1.ino, bothofthe candidates that

    contested the Democratic primary.init were.Latinos. (Ot:ily oncehas a ~andidate wiihout a.




         , See Rit;httrd L. Engstrom, "The Polil;t;31 Thick.el, Electoral Reform. and MinQrity V01ingRighls." in Mnrk.E.
         Rush and Richard I.. Engstrom, FairtlntiE!f:ecTiveReprt1SCl/llation? Debuling Eleaora! Re!(Jrtr/ and MinrtrilY
         Righls, Rowman and Liulcflcld Publishers, Inc. (Lanham, MD; 200 I), al 6,




                                                        A176
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    Spanish surname sought [he Dernocrauc nurninution in 'Ca<l, in 1996.) Mr. Gurierre... won the

    nomination, and then won the subsequentgeneral election with 77.6 percent of the votes:

                The version of Cf)4 intheAdoptedPlan is wholly contained within Cook C()unly. and

    therefore the collnty-widcclcctionsanalyzed above, the Democratic primaries for Assessor in

   20 10 and State's Auorney in 2008, can be used to assess the opportunity itprovides Latino

    voters   (0   elect a reprcscntati ve of their choice. When the votes cast in the Assessor Primary

    within the area of the district are examined, in which Mr. Berrios and Mr. Figueroa faced an

    1\ frican   Americun candidate, they recei vcd a cOfnbined,8J.2percentof the votes, with Mr.

    Berrios himsclrrccciving49.8per~mofLhem, In the State's Anorney primary, Ms. Alvarez

    won more votes than any of the three white. candidates and-two African American candidates she

    competed against. She received 45.9 percent 'Qfthe VOles while her closest compeuror-received

    26.8 percent.'

                CO 4 inthe Adopted Plan remains-an effective Latino District, but c10CSSl1 by continuing

    the packing of Latino voters within it lt.alsereiains, as noted above, Hie·bizarre earmuff shape.

    It is the least compact.district in the Ado.plett Plan, While the ~j'Sltict fails the "eyeballtest" for

    compactness, its relative luckofcompactness, when compared to all of the other districts in the

    Adopted Plan, is con finned by quantitative compactness measures. There-are many different

    measures of compactness, but they-are gel1eral1y of two-distinct-types, dispersion measures-and

    perimeter measures. Dispersion measures assess how closely districts resemble a.shape-that is

    considered cQmpact, suchas a circle, wher¢~spcrill'leter scores SS$~s howrnuch districts wander

    geographically.




         8   i (the data areavliihihle for the fOUf cCllinly.Widd.:lec!iol1s idcnlil)ed in footnote I abov.e,   lplanao
         supplement this report with     an examination of rile votes C~SIW!lhiri*edisl'n'Clsin those elections as well.


                                                                   10




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                I have chcscn one of each type of'measure through which to compare the compactness 0 f

   districts in the respective plans, The dispersion measure, known as the Reeck measure,

   compures the area or the district with the area 0'1' therninirnum circumscribing circle around the

   district. Scores range frorn just above.zero to one with higher scores indicating morecompact

   districts. The perimeter measure, known as ihePolsby-Pbppermeasure, compares the area-of the

    district to the area ofa circle with the same perimeter length. Again, scores runge from just

    above zero to one, with higher scores indicating more compact districts." The Reockmeasure

    ranks CD 4 as the least compact district not only in the AdoptedPlan, but in either of the plans.

    Its score on the Reeck measure is very low, .1S. The Polsby-Popper measure also scores CO 4 in

    the Adopted Plan us the least compact districtIneitherplan, a very low ,US. These same

    measures score CD 4· in the Plaintiffs' Plan considerably higher. with .26 on the Reeck measure

    and   .n'on the Polsby-Popper meaS~fe,li)

                The most apparent reason forthebizarre shape-of CD'4 inthe Adopted Plan-is a desire to

    create      a district with an extremely high concentrarion'of'Latino voters.
   CD4 in PlaintjlTS' Plan
                The version of CD 4 in the Plaintiffs' Plan also provides Latinos with a viahlt:

    opportunity       10   elect a representative oft~'ieir choice, without coniinuingthe packing of Latinos in

    it, and without' continuingthebizarre earmuff shape. The Latino VAPWithinCD 4 of the

    rlaintiffs' Plan is close to 60 percent, 59,5. This 'is virtually the same as that figure for t he

    original version or the earmuff, adopted in \99\, which was 59.2 percent.



          9     These are-the measures recused on;in Ric'hardH, Plldes iuldRichard G. Nicini.~Expres$i\le harms. 'Biwrre
          Disrticts.· and Voting Rights: Evaluating BlcCli6h::Pisiricl   App..'ar:If'lcesllfl<:rSha",   \I.   Reno, 92 MicJI. L ReI'.
          483<1 99J):              .
           10   The.scoreswere derived through iluloBolind,redisiricting software.



                                                                II




                                                            A178                                                                  0-3\
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               The version of CD 4 in the Plaintiffs' Plan is also whollycontained in Cook Countyvand

   the votes cast in the: zo:o Democratic primary for Assessor-and rhe t008 Demccraticprimary for

    SltlIU'~   Attorney in thcareu of thedistrict can again be examined to assess-the opportunity it

    provides Latinos     10   elect representatives of their choice. In the ASSe~5Qr race, Mr. Berrios and

    Mr. Figueroa combined receive 80.0 percent of the votes.just 2..3 percentage points less than

    they received in CD 4 in the Adopted Plan, Mr. Berrios himself did even better in this version of

    CD 4 thai he did in CD4in the Adopted Plan, reoeiving.a.majority-ofthe votes cast, 52.7

    percent, compared to 49,8 percent in CD 4           in the AdopledPlan,       M.S. Atvarezrcccived 42.0

    percent ·01' the votes in her nomination-contest forState's' Attorneyin the vt',rsionofCD4 in the

    Plaintiffs" Plan, with a margin of' I J.7pcrccotage points overher.closestcornpeutor .11

               CD 4 ill the Plaintiffs' Plan reveals that the earmuffshape of CD 4 in the Adopted Plan is

    not necessary to provide Latinos with a viable opportunity 10 elect. CDA in the Plaintiffs' Plan

    provides that opportunity, and it does so without packing Latino voters. In addition,the

    compactness SCores for CD 4 in the Pl'ail)lifTs'Plan. as noted above, show that it ismere compact

    thanthe     CD 4'inthe AdoptedPlan.
     kP 3 in 80th     Plans

               There is alargedifference in the Latino presence in ihesecond most Latino district in

    v P,P within the Adopted Plan .and within ihcPlainriffs' Ptan. The mihib.crOf:th.isdistriGol is 3 in

    both plans. The version-inthe Adopt~dPI~ issquihofClJ4,whilein;be Plaintiffs' Plan it is

    north orCD 4.




          II If the data arc availablefor the fOUT county-wideeleciions identitled in footnote I above, I plan to

          supplement this report with an examination of the votes.cast withinthe district in those elections aswell.




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           The big difference. in these plans is the percentage of the YAP within them that is Latino.

    Despite being rhe second largest such dist rict i n the-Adopted Plan, the l.at i no VA P percentage

    lor CD 3 in that plan is only 24.6 percent,   it   reduction from the 29.3 percent in CD 3 in 20 lOin

    the previous plan. This was accomplished by a net increase of 40,027 in VAP in CD 3 in the

    Adopted Plan, which is entirely accounted j'.lr by the increase in non-Latinos in it. Non-Latino

    whites consritute well over a majority ofthe YAP within this version in, 66.3 percent. A similar

    changeoccurredin CD 5 in the Adopted Plan, another adjacent district to CD 4. The Latino

    pcrcenrage   0" VAP in this diQtiri~t'was reduced     from 24.6 percent in the previous plan, to 16.0

    percent in the version in the AdoptedPlan. This was accomplished by a net increase of 62,531             In


    VAI-', all 01' which, again. is accounted for by non-Latinos.

            In contrast, the Latino VAP in the version of CD) ill the Plaintiffs' Plan is46.5 percent,

    and Latinos constitute. a plurality of the YAP, with non-Latino whites being 40.8 percent.

    Latinos.would have a chance to influence the outcomes of elections in CD J in the Plaintiffs'

    Plan, even if Mr. Gutierrez (a resident of the district) does not seek reelection in it. Although not

    wholly contained in Cook County, 91.3 percent of the YAP in the district resides in that county.

    Voting in the county-wide contests analyzedabove for the versions of CD 4 .can again          be
    examined to assess how well the Latino candidates did in those electioosin-the area of CD lin

    the Plaintiffs' Plan, with an understanding that 8.7 percent of the people of voting age in the

    district could not participate in them because they resided in DuPage County.

            1n the 2010 Democratic primary for Assessor, Mr. Berrios and Mr. Figuerroa together

    received 79.2 percent of the votes cast in the Cook Countyportion of CD) in the Plainti ffs'

    Plan. with Mr. Berrios receiving close to a majority of the vetesthere, 48.6 percent. In the 2008

    Democratic primary for State's Attorney, Ms. Alvarez received-a plurality of the votes in this




                                                           13




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   six-candidate: contest ill the area, 36.2 percent. Thesecond place candidate received 33.2

   pcrccnt l 2 l.atino candidates other than Mr. Gutierrez appear-to be cornpcritivein this.district.



             While: CD 3 in the Plaintiffs' Plan cannot be said to be a Larine miJjorityqistricta\ this

   lime, based onmy analysis it already offersLatino votersa chance-Io elect candidates of-their

   choice within it. This will be facilitated by the need to obtain' only a plurality of the votes ill it to

    win the Democratic Party nomination. That nomination would providethem with a significant




   OpPOI11.IB,jty   wlH !be: en.h.l!~ctdihh~ Latino YAP perce,n,t't},ge: in t!hedist:ricc were to grow. CD J 1m



    opportunity.

                                                      CONCLVSJON




    ottnerelati ve electoral opportunities provided-to Latinovoters in the I wo redistricling plans, the

    Adopted Plan and the Plaintiffs' Plan, thai the first dilutes the voting strength of Latinos in the

    area. CD 4in the Adopted PIan is packed wirhmore Latino VAPthan necessary to provide

    Latinos with a viable: opportunity       10   elect the represenrative.of'their choice within it. This

    packing will not.only result in wastingthe votes of Latinos in that-district, but contributes to the


        1)   I(the data ureavallable for thefourcounry-wlde elections 'idemiliedin foornete. I! lIbuve,.1 plan to
        supplCmCn[lhis repon with an examination of thevotescast wicllih ihe district in thoseelectionsas well.



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   iurther "bleaching" of adjacent CDs 3 and 5in rharplan. The vetsiooQfCD4in (he Plaint] ffs'

   Plan will not only provide Latinos with a viable opportunityto elect the representative of their

   choice but .ilso :11 low for another district in which Latinos will constitute a pluraliiv ofthe V;\P.

   Latinos certainly have a chance to have animpact onelecrion outcomes in IhL\t district. The

   voles east in the area of C03 in Dcrnocratjc Partyprimaries for other offices demonstrate that

   they will have an opporumiry to select the person who wins the Democratic nomination in that

   district, who would then be advantaged by that nomination in the heavily Democratic district.

    Based on my examination of the two plans;'] conclude that the Plaintiffs' Plan demonstrates that

   the il\'Cl(}p:t,~.d Plan tloocc(;s~anly dilutes tbe votes of Latinos in the area.



    I declare 'under penalty of;pe~'\'h')'tll~der the laws of the United Stateslna1the foregqjng is; tn.ve.

    and correct. to the best of my knowledge.

   Executed on Scpl.(:m~{15> 1{) I \ ln {)tJrlmm., iNC.




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                                                             Table I


                                  Multivariate Analyses of County-Wide Elections

                                          and Chicago Mayoral Election

                                       GrQUp Support IorLatinoCandidates

                                     Point Estimates and Confidence Intervalss




   Election                                (~/o   of Latino            % of African        % of Other
                                                   Voters             AiTle.rican Voters     Voters


   ?(}/Q Delli Primc/n'

      Assc§sQr

                                                93,5                        38,.0             ,81.6
                                              91.1-95.8                  30:9 - 45.3        79.8 -8:U

         Berrios                                    64.7                    27:2
             50.4
                                              57.1-· 73.2                2·1.3 - 33.6
      47.1 -53.S

   l.f)OS Dem P6marll

       ~IC'S   Attorney

          Alvarez                                    82.3                   ,16.7             23.7
                                                  77.7 - 87,]             \4.1- 19.5        21.2- 25.2




          Chico    f   DelValle                      83.7
                   8.6               49.6

                                                  71.~ -90..2
            G.t-II.!          ,H. 1- 52.0


          Chico                                     ,46',0                    5.6              39.5
                                                  40.9-51.4                3.8·· 7.4        36:9 ~ 42.\

    .;: Confidence intervals containa range of e,s,t iTT'! ates from whichwe.can be 9p percent confident,
     given the data, that the truevalue.ofthe percentage being estimated will [all.




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                                                  . Table ,2

                            Bivariate Analyses at' District and Subcircuit Elections

                                    Group Support for Latino Candidates
                                  Point Estimates and Confidence lntervalss



    Election                                     % of Latino               % of Other
                                                   Voters                   Voters

    2QJ 0 J)em PrimQ1J!.

       Ctd3Q~l'.rcUD. 16

                                                      84.1                       .lOA
                                                 73.0 -- 97.0                 8.2­     ~J 3.:0


       Cite·tllt CaS uQ.) J

          M:miI1Cl;                                    73.9                     'ilL)
                                                  65.] - 83.8                 9.7- GJ




            Aguilar                                  ·79.5                       11.5
                                                  /2.1 _. g7.6                10.0- lJ,O


       Circuit CISub ..§


            Araujo                                   68.4                        16.4

                                                  57.0 - 83.1                 12.0·- 21.4

    2006 Dcni P6m.(J"~

       Ci~wit   Ct Sub. 6

            Ocasio                                   56.4                        41.6
                                                  4R.9 - 64.4                34.9 -4~8.5

    '# Confidence imervals.conlain a rangeof estimates {rom 'which we can bc95percentwnlidellL
    given the data, thai the true value ofth~p~rc.entage'beinge.sdmat~dwill (aIL   .



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                                                 f\PPENDIX ;\

     FACTS OR    [)/\'I';\   RELIED UPON INR£ACHING MY CONCLUSIONS AND OPINIONS
                                    IN rius REPORT IN THIS CASE

       1.	 Data from the U.S. Censuses of Population, 1990 2000; and 201 0: 1990 Census, STF I
                                                                I


           Tables QT.P IA, QT-P ID, QT-P1E; 2000CcilSUS, SF2 Table QT-Pl; 20 ro Census. SF I
           Tables QT.? I, PII. P12H

       2.	 Primary and gen~ral election data fromthe Illinois State Board of Elections for the

           elect ion of U.S. Representatives from Illinois, i992 through ,2010. .


       1	 Primary and general election dataIrorn the Cook County Clerk.and Chicago Board of
          ElectionS for the election Of Cook County Assessor, Cook County State's Attorney, Cook
           County Circuit     COUI1,   and ChicagoMayej, 2006 through 201 l.

       4	 Maps of Illinois Congressional districts in effect for the elections in 1992 through 20 IO.

       5. Maps of Illinois Congressional districts proposed by IllinoisPublic Act 97-14.

       6   Maps 01" Illinois iongressionai districts proposed by the l'laintiffs.

       7.A utoB()und"compaetness reports, sh6wing the compactness oflhe current and proposed
         Congressional district plans.

       R.	 The following scholarly publications:

                   Richard L. Engsrrorn, ""fhePoliikalThickct, Electora! Reform, and Minority
                   Voting Rig!1lL~t" in Mark £,'R,ushand :Richard L.Engstrom, Fair and Effec.liv.e
                   Representation? Oebating Elet;tDral Reform andMino:rjtyRi8ht.'~, Rowman and
                   Littlefield Publishers, Im;:.-(l.anharri,M8,200J),at 6.
                  Richard H. Pildesand Richard G. Niemi; "Expressive.hatms,.'Biz.iuieDistriccs,'
                  and Voting Rights: Evaluating Election-District Appearancesafter Shaw v . Reno,
                  92 Mich. L. Rev. 483 (1993).




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                                                 APPE:NDIX B


                                                        V1TA
                                         R1Cl-lARO L.ENGSTROM


                                                   June, 2011




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    PERSONAL AND EMPLOYMENT INFORMATION

    Born May 23, /946. Married lO former Carol L Verheek. Four children: Richard Neal, born
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    Assistant Professor of Political Science,University of New Orleans, ,1971.-74; Associate Professor,
    1974-1979', Professor. 1979-prcsenl; g~s,e~h ·PrqfessQr. 1987-2006, Endowed Professor of
    Africans Studies, 2003-2005.

    Chairperson. Department ofPolitical Science, University ofNew Orleans, 1976-1979. Coordinator
    ofGraduate Studies, 1990~ 1992, 1993-2006,


    Consultam, Center fQrCiyil J~ghtS, :.scho.olofL~w,lJl'!iversityofNC?rt!J:c:aro]ina;ChapeA Hill,
    2006-20U7.

    Visiting Research Professor of Politica] 3ci<jnce ,a.ndVisitingRescarchFeHow, Center for lheStudY.
    of Race, Ethnicity,an(i Gender in thcSQ,l;:ialS~ienc~; Duke Unlversity, Spring!Wd$!lJTl.mcr,2008.
    Visiting Professor of Political Sciericeand Visiting Research Fellow, Center forthe Study of Race.
    Ethnicity, ana Gender in the Social Sciences. Quke.University'2p08 . present.




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    Fulbright-Hays Professor, National Taiwan University and National Chengchi University and
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    I. 981-82.
                                                                                                               1
    r:ulbntthl-Hays \;'rofcssor, University College, Galway, Ireland, J 985-86.                                I

    Senior Research Fellow.Jnstilute ofIrish Studies. the.Queen's University of Be Ifast, 1990.


    David Bruce Fe)low, Bruce Centre for American Studies, University of Keele, England, 1993.


    Visiting Fc1Ic\\N\ School of Politics, Australian   Defence Force Academy, Canberra,   Australia, 1998.


    Program Visitor, Political Science Program; Research School of Social Sciences, Australian
    National University. Canberra, Australia, June-july, 2005"

    Recipient, UNO Alumni Association's Career Distinction Award             for Excellence in     Research.
    December 1985.

    Recipient, George W. Lucas Community Service Award, NewOrl~a.ns.NAACP, 1993.

    FORMA.l. EiDUCAnbN

    Ph.D., University of Kentucky, 197.\

    M.A., University of' Kentucky. 1969


    A.B., Hope College (Holland, Michigan). 1968.

        (recipient.ofClass of'65 PoliticalScience Award. 1968.

    PRJMARY TJ;,\CHING .FIELDS

    Ek~ti()n Systems, Urban and tv1inoritYPQlitic$,Legis\ativeProce$s, Al1leri~ Politics.

    PROF£SSTON6L ACT IVITJES

    Member, Election Review Committee, American Political Science Assotiation,.2003·20()~.

    Chait, Sectionon Representation and Electoral ~Ys.ierns, American Political Science Associulion,
    1993-95.95.,97, Section Board; 1993-preSctlt.


    Bvok. review editor. American Review of Politics, 1995-prescl'lt.



    Lecture tour. under sponsorship of United: Stales Inforrriarion   Agency, Of Tan7.:inia, Ethiopia,
    Kenya, Mala"Ti, and Liberia, January, i 994. Tcpics include, amongothers, comparati ve election
    systems. legislatures within democratic regimes, and race and gender In contemporary politics.



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_ _" __   _       _'_             ,._....•              •__ _    w          .v ..            •. __ ·   ·._. __   ._¥_.._..    ..            .   v__v·_.   ·.._._••w_...--__            - ..             '__..•.       "'T-·."""':'-""'t..        __        .. w   __                   _ _ .R_
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              ~         ~   "'~              ~_.   ~_                               _~._._                               ~~    _.~~.....                                      ,._~~-      -.-~   _~¥_         _~w~¥                         _~        -~               _ . . , . . . ~ .




                                   Associate Member, Centre for the Studyoflrish Elections, University-College Galway.

                                   Member, Board of Editors, EyhUc. Administration Quarterly 1977-presenl.

                                   Member, Editoriai Board, :LQ.l,I.m'!lof Poli.tics, L988-19(J].

                                   Member, Board                or Editors, Swte and Local Goveaunei1t. Review, 1988- 1990.
                                   Member, Committee on the Status of Blacks, Southem PC)j itical Science Association, 1991-1996.

                                   Treasurer, Southwestern Political Science Association, 1981 (position resigned during term due to
                                   Fulbrigh; Lectureship).                                                             .

                                   Chair, Harold D. Lasswell Award Cornmilice, American Political Science Association, 1995-19%
                                   (best dissertation in public policy),

                                    Chair. Ted Robinson Award Committee, Southwestern Political Science Association, 1995-1996
                                    (best research project in minority politics.by a graduate student).

                                    Member, Nominating ComrniueesvSouthern Political Science Association, 1.980; Louisiana
                                    Political Science Association, 1981, Study Group on CornparativeRepresentation and. Electoral
                                    Systems, International Political SCience Association, 1988, Section on Representaiion and Electoral
                                    Systems, American PoliticalScience AJiSOciation,.l999.

                                    Member; Chastain Award Conun inee, Southern' Political SCIence Association, 1978.V.O. Key
                                    Award Committee, Southern Political' Science Association 1990. Ted Robinson Memorial Award
                                    Committee, Southwestern Political Science Association, 1995, 1996. (chair). Hallen Award
                                    Committee, Section on Rcprcseruatlon and Electoral Systems, .American Political Science
                                    Association, 1999,2000.

                                     Member, Program Committee (UrbanPoliticsSection), 1976 Annual Meeting of the Southern
                                    Political Science Association. Program Committee (Urban Politics, ScctionY,1992 Annual Meeting
                                    of theMidwest Political Science Association, Program Committee {Representation and Electoral
                                    Systems Section}, 1994 Annual Meeting of the American Political Scien~c Association. Program
                                    Committee (Representation and Electoral Systems Section), 2002 Annual Meeting of the American
                                    Political Science.Association.

                                     Member, Membership Commil1ce,Sol,lthwesternSocialScience Association, 1973-74.

                                    Presented papers at meetings of th~Arnerican Political Science AssociationJntcmational Political
                                    Science Association, Midwest Political Science Association, Southern Political Science
                                    Association, SouthwesternPolitical .Seienee Assoeiation, LouisianaPolitical Science Association,
                                    CitadelEymposium on Southern Pohti~s, InrernationalSociery ()(Politi9al Psychology, Harvard
                                    University Computer Graphics Week;Au:;l.ranan~N~w Zealand Acadeq:\Y for the AdYW1Ccmem of
                                    SCience.. FormaI papers alse presented afprograms atTulane Uriiversity,Sagam6h StateUniversity,



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   University of Keele (England), Rice lJniversity.,an<iChlef JusticeEarl Warren lnsutuie on Law
   and SOclHI Policy, University of California School of L(1\\I,

   Chaired panels at meetings or the American Political Science Association, Southern Political
   Science Association, Midwest Political Science Association, Southwestern Political Science
   Association, and International Political ScienceAssociation.

   Servedas discussant for panels at meetings of the American Political Science Association, Midwest
    Politice! Science Association, Southern Political Science !\ssoc·iaticin; 'Southwestern Soc,ial 'Science
    Association; Louisiana Political Science Association: Institute of American Culture, Academic
    SiIIlcU (Taiwan), ::Uld 1nternational P9111ic;aI Science Associarien,

    Reviewed manuscripts for the [:\mcrican Political      SCieritt1   Review, ArncriHUJ   )flurna.!   of   l~(ilitiq~1
    Science, JQL1nHtL..QLJ:.o.litics, Political Research Quarterly., Polity, Social' Science Ovarterly,
    Lcgisbtive;lliJdies Quarterly, AmericarlPoliticsQ..\l.arterlv. Urban Af'filirs Rc\'.ie\~, Electoral
    Slv.dies, E.lcction Law Joi.lmal, Political Ai1atysis, National Political SCience Rex·iew. Womell ill1d
    Pq)it1f§. $olllbcnstem Political R~yiew, Statel:U1dLQcal Govemmcl}~.Revie~,P!J.bli~ Agmi~~tion
    Review, PUbJk..-6f!!11inistration Q!,!~[y, American ReviewofPolitic.§, PreggcntiaLSludics
    Quarterl)'. Law ClIld Polkv, Journal of }lolicv Histo!:Y., publk AdminislTi:llionancl Managernem,
    Howard University Press and Stanford University Press, and Norihern.Hiinois Ul1,i\·er:;itYPress.

   Recipient of grant from Pacific Cultural Foundation, Taipei, 'T'aiwanto support project entitled "The
   Legislative YU[I.Il: A Study of Legislative Adaptation" (1982).            '

    Recipient of grail. from privatesources, New Orleans, to supponustudy of mayoral tenure in large
    American cities (l98).

    Recipient of grant from Southern Regional Council, Atlanta. Georgia, to conduct exit poll                       or
    oumulative voting election inChilton Counry.Alabarrta (1992).

    Recipient of l\rams from Louisiana Education 9lilllitySuPPClr1 FWld',FeUowship Funding fOT
    Superior Graduate Students, 1992 (i993.1~~7) $48,000; 1996 (1997-200f) 164,000; 1997 (.1998­
    2002) $48,000; 1998 (1999-2003)$56,000.

    Reviewedgrant proposalsfor NatlonalScicnce Foundation-programs in P-oJiiicl!1 Science and Law

    and Social Sciences, and National SCience Foundation graduate fellowship applicaticns for the

    National Research Council.

    Served as mentor in Souiherrr Reglona] Council's Voting RightsFellowship Program to JasonF.

    Kirksey, 1992-1993.ahd Dr, OlethiaDavis, 1993·1994,


    United Nations Consultant on Election Systems and Constiiuency Delimitation. National
    Election Commission of Liberia, UN Mission in Liberia, 2004.


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    Consultant, Charter Tusk Force Cornrnirtee, New Orleans, 2000            Prepararion of TenT! Limits; A
    gel2'lrt Lo the Charter Task Fcn;c, CO!llU\iLltC, February, 2000.

    interviewed on term limits issue on "Crescent City CloseUp.vpublic affairs program on threeradio
    statiol1s, WNOE, KKND, and I<UM)(, March 19, 2000.

    Participant, Roundtable on At-LargeEI~cti()ns for the-Internet Corporation for Assigned Names and
    Numbers (IC!\NN), sponsored by Common Cause.jheCentcr f0r Democracy and Technology, and
    the Markle Foundation, at the' KennedySchool of Government, Harvard University. February 9,
    2000,

    Member, Board of Directors. Concern International Charities, I99R-2003,

    Chairperscn, Tuskfnrcc:: on Civil Service, MayQr-E,\ecl f.mt5\         Mor~ars     Tl'iID'Si\\()'l'J   omce   (N\::\\I
    Orleans), 1977-n

    \1emteir. C.Ita,cbelre S;lll~i!lHilr:nirtee oflJNODi vcrsity Cabinet, 2003-2004,




    Chalirpelrson, .Search C~:m1Jnil1Ce for vii-{:cGhancelkv fOJ Research and GradullIc Studies. and Dei.!J1

    of tll,le' G.ratlu,atc: Schoof, UNO, :l~',87:,8R.


    Chajirpersofl, Search Comminee'fer Giadua'tt: Dean, UN0" i ~n8':79,


    Member, Unil,teisit), Budgel Cornminee, UNO, ,n983~M.




    Member, AcademicPlannlngComminee, UNO. 1982- r 988


    Member, Faculty Council .Cornrnittee on Faculry Honors, UNO. 1985-1990.


    Member. Commiueeon Re~earth,UNO SeJf~Stl:!oy; 1972..7~;1982-83.


    Member, Dean's AdvisoryCommittee. on Academic Planning, College of Liberal Arts. UNO,

    \983-84.                                                       .
    Member, University Senate, UNO, 1975-77; 1980"81: 83-85;87-91.

    Member, Steering Committee,       Legal   Division,   New OrleansChapter,          American. Foundation for
    Negro Affairs, 1977-79




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     Service as expert witness in numerous vote dilution cases in' federal courts. Employed by the

     United States Department of Iustice-LawyersvCornrnirtee for Civil Rights Under Law, NAACP

     Legal Dc!ense and Educational Fund, Center for ConsrirutionalRights, Mexican-American Legal

     Defense and Educational Fund; Native American Rights Fund, and other organizations. Served as

     court-appointee expert for the remedial portion or ~~~jJJiams v, Cit" ofDalins.. United States District

     COUrt fOr the Northern District ofTexas, DnJlas DivisiQTI,199\.Scrviceu..<; Special Master for the

   . remedial portion of~ v.City bfChkago J{t:lllhtsj UnitedStates District Court for the Northern

     District of Illinois, Eastern Division, 2002-2004.

    MYrn;'!).l,..r;CrU RES I PRJ;SI~NTA l'lONS (Since 1986)

    J 989:   t'vlcGct.: College, University of Ulster - "'ll1G Reagan Elections: Realignment or
    Dealignrncnt?" and "The.Ccntemporary Voting Rights l~,sue in.American Politics"

    'nit 'Qucc:n'~~ University of Belfasr - "The Reagan EIc.clioils:.' Rc-.l'iBg,hmci1t or Deaiigllmcfll'?" and
    "The Cont,cmporary Votitlg iRj,g,bls Issue in A:rrier.icnn HoJitics"




    Uri~'!~:rsity      CQltege Duiblin- "'"f1he      CDilllem;porary    Voting Rights     Issue   in    A'lil1eticw:J Politics'
    (4/3'{)/B6)..

    'Uf'.\\'CTS1f)'   CnT!c:':ge.: Galway -'The Reagan E;le'c.tion~: Hem'lig;nl1J\\c:nt :l1Ir Dcalignrncm?"

    ]"987; Southe!nn U:r;,il'crsrry -'"The EqlUall"rotecLlon Claese .and H~ctOiral Re.'lpf'0rtjonmenl" (4/8/&7).

    APSA Surmner t'nslillJtc Jor1B\&ck S1Urih~nts, Louisi•maSt<l1e
    Uil\i'\'c,rsiry - "lhe·iPolittca:J,Scjer\6st ,~LS.Ex'Pcrt WilneSs"(7ri,6187:'.

    NAACP Legm! !Defense fund, Conference on V041ngRighlS, San Antonio, Texas - "Cumulative and
    Limitetl Vot~ingas Re.;medles ,'for ~ijn()rity 'V Otp.D.ill1ti,on." .

    HISS: CoHegt :of W;jj1lJ~am .and MIiI)' -"Tiv:::iCt:>nrellitpnr.,J.I)' Vtoting. Ri~hts Issue" lind "TheRoleof
    Social Scientists in Voting RightsiL:iligatibil h

    University of'Quecnsland - "One Voie.Dne Value: The U.S. Experience After 25 Years" (5124/88).

    Griffith University (Brisbane) . "Om: Vote. One V<i!ue; The U.S. Experience Alter 25 Years"

    (5125/88).


    1989: Tulane University " "Frontiers of Voting Rights: Vote Dilution                           In   Judicial Elections"

    (3/9/89).
    Lamar University. "Voting Rights: A Retrospective' (10/30/89).


    Oklahoma State University - "Frontiers of'Votlng' Rights" (NoycmberllO/89).





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     J9!!l{): 'nlli: Queen's UniversilY D'f,BdfuSI-lnstituie nr lris.b Studies, 'The lrisb r:.fiCt'titih Sys,tem:
    'Mal'l:IIPukltionand RefOHm" (31D/9()); Department ofPolitics. "The Reagan Presuicncy: An
    A~\seSS,rnt:,nt"   C31U90).

    Broolongs Institution- "SCKlUI SCientists and the Voting.Rigrrts Act" (H\f'19i90),

    Lyndon Baines .Johllson Library {A'llstin. Tt.x'3~,) - "The iE\I\)~ution -ofthc VOiling Rights; Act of
    1'96)" (l 0/29190).

    1~19 \1: iUJI~vers'lty ~,~ 'rif'~',lS all Dm~:I",s. - ;'iRt('fl<;~11riil:l~;1:rgiihe :ntijl~, Ci,ty !C()l,ll~~:'I'I'" {318t91 'r,.
    ,Uni;jce;ISlllle,s Def\'urti'nit:rr:t'IQCJh,s,lice, 'V0Ilimg (SeA~'t'il~n - '''AJ(t(;/J'l'''1it1V'~ El.ec:iitltlSysitC(ifiJS'" >\3/J5/9 J j'..
    Sressun U:nis,t:rsily S.dloc,l of Lasv - '\l\iItClritHive iElbttion S}'S,tcmsas. Remedies fGrMinoriry Voce
    D'11utio Tl'" {40_7/9 I ).

    Norfolk Stale       Unci\ler>~ty    - "Electioi, An'alyses im        VOI'~ng   Rigb'ls Litig'llion" (6/15/91).

    iI991..~ University ofColoradc, Summer Workshop in Urban PQ~itks.· "Raceend Veiling in Judicia!
    U:Ucctions: New Grkimsas E1C~L:,eStudy Sd6'iig"·(7f9J91).

    Harold Washington College, ChiC:cagD - ··P.()\ilical$cience Researcn and Testimony in the Miami­
    DadeCmmlY Core." (915192 • Jlol:p.r:esenled ito illness).

    Southern Regional Council, AtilmlU;,O~orgil'J • "Exit PoHsan~ Voting Rights Liligatioll" (iO/?J92).
    l.22:.!::
           Lecture lq1ir (1'[ Tanzania, EU]j~)'riu.Malil\..tl; ant) LiberiaIor Uniled States lJ1fqrrnation
    Agency, January. :1994.

    National Conference of State Legislators, ADnualNlet:ling,N·ew Orleans> "Redistricting and the
    Courts" (7f26194)

    1m:         Departmeruuflnternaticnal Politics.Peking University.v'Constitutional Law, Comparative
     Electoral Systems, and the Politicsof Race and Gender" (10/17/95).

     1'997: John I), Lees MemorialLecture, Keynote Acidt~ss. 1:997 Annual Meeting or the American
     Politics Group, (United cKlogdQoi) Political Science Association, Keele, Englar'lO, "Affirmative
     Action: The Elccticn artdtheEledioh System" (1/3/97).

     Alunmi College, ~:oU¢gc ofLibecalArts"Universityof New Orleans; ;'~iiclal Gerrymandering-in
     the 1990s: The Issuess and the AHei':nat~ves"f'211197);

     Com.'l1,.is~ionon Governrnemal Reorganization, :City QfNew Orleans,I'Priocip!es for Govcrnrnerual
     Organization" (9f'iJf97),                                    .                          ..      .

     Civil Rights Training Institu~e (Airlie Conference), NAACP LegalDefense and Educational Fund,
     .,Alternative Election Systems .in ilieP'ostjSh£t~ .Era";( 111'8/97).



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    School of' POlitics, Australian Defence Force Academy, Canberra, "Racial Gerrymandering in the
    United 3 111 t1'.:-<;" (4/1/98) and "Election Sysrerns and Minority Representation in the United SinH's
    Racial Gerrymandering and Its Aftermath' (5/29198).

    School of Political Science, University of New South Wales, Sydney, "ElectionSystems and
    Minority Representationin the United States: Racial Gerrymandering and Its Aftermath" (4/8/98).

    Illinois Set~r<.:r.ary (Jf State's Commission on Redistricting, Chicago, 11., "Computer Generated
    Districting Plans: Necessary Conditions and Tie BreakingCriteria" (12/\ 0/98),




    Carinthlan Institute of Minority Affairs, Villach, Austria, "Spiders, Earmuffs, and the Murk .of
    Zarro: Creating Electoral Opportunities for Minorities in America's Single Member District
    System' (515/01),

    Bureau of Governmental Research, New Orleans; LA,"T'he May6r: How Mnny Terms?"
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   Pomona College, C1arc;m.ont,    CA,    "Spiders,EaJ'rnuft~<;, and ih~ Mark of Zorro: There Must be a
   Better Way" (3/1 3'/02).

    Utah State University, "The Redistricting' 'niicket: Arc There Altema~ives?" Bennion Teachers'
    Workshop (8/9/()2),

    Utah Stille University, "Missing the Target: Priorities among Districting Constraints;" Redistricting
    in. the New Millennium: A Lecture Series, (1 1126/{)2).



    Florida State University, "Missingthe Target; Priorities among Districting Constraints," (.li':2l/0J),



    Cleveland Cit)' Club/Cleveland Stale Uilhiei'slty; "Metro Reform arid Minority Voting Rights,"
    (2(25/04),'                                       .

   .Liberian National Election CommissidnConsuitative AssclnblY•. .Monrcvia, Liberia, "Ccmstitu¢ncy
    Boundary Redemarcation: Concepts and Tlmeframes," (f:J!7I04)~




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     Subcommittee on the Constitution, Comrnlnec tcr; me Judiciary, United States House of
   . Representatives, written and ora) testimony, hearing on Extension or the Preclearance Provision of
     the Voting Rights ACt, (I 0/25/0S).

    William C. Velusquezlnslitutt},St\1tAntoruo, TX" -"lnHuenGc()istriclS,"( 11119/05)



    University of Wes: Georgia, "The.Gerrymandering Problem: Lessons From Australia?" (4/3/06).

    Duke, University. "Racially Polarized Voting: Pervasive and Persistent in the American South,"
    Conference on "W(h}ilhcring the Votiqg Rights A,cO"C411/06).

    International Political Science Association, Fukuoka, Japan. Roundtable oil Electronic Voting. "[2
    Voting in. the lJ.S.," (7113106).             ..

    Brennan Center for Justice, New York University School of Law, "The Gerrymandering Problem:
    Lessons from Australia"," (811/06).

    Short Course on The National Popular Vale Plan to Revamp the Electoral College; American
    Political Science Association Annual Meeting; r)hiladelphia,"P01CniiallmpaC1 of the Notional
    Popular Vote Plan 0J1.Prel;identi31111eclioos and Other Elector'dl RefbmIS,'; (8i30l01j).

    American Bar Association, Administrative Law Section, "Redistricting Reform: Lessons from
    Australia," Washingto«, D.C. (I 0/26/06).



    Morehouse College, "The Gerrymandering Problem in t~~ Unjt~d Slates; Judicial Protection or
    Redistricting Commissions or Alternative Election Systems," Voting, Analysis in Mathematics and
    Politics: Interdisciplinary Researchend Educatior, Seminar(VAMPIRES) (All 8108),



    Duke University, "Response to Thomu.sSru:nell, '\\'11)' Competitive Elections are Bad for
    America' ," b,uke LJnivetSityPolitical Science St4cit;mstAs.sQ~iatioll·(2/t()/09), .

    Chief Justice Earl Warren institUte on RacejEthlijcity, and DivefSity, University of California at
    Berkeley School ofLaw; pt'C~nter, panel on'\ll1e Redisiricting Experience: Tates From the Field,"
    conference on Redistricting Refomlarid Voting Rights: Identifying Common Ground and
    Challenges, UC WashirigtonC~riter.{11l11/09t




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    Centerfor the Study of Race, Ethnicity, and Gender in the Social Sciences. Duke University

    Presentation on "Race and Redistriding"<atthc conference "Counting Race: Racial Classifications

    and the 20 jOCensus," Dl,lke.UniversitYOfl9i10).                  .


    St. l.ouis University Law School, Prescntationont'Cumulurivc and Limited Voting as Remedies for

    Dilative Election Systems,'; at the symposium on "Voting 45 Years after the Voting Rights Act,"

    (3/26/ I0),


    DClTlO~, Presentation On "Issues in the Post-20 10 Round Of Redistricting';and Discussion Leader lor

    Session on Redistricting, "An In-Depth Discussion with Demos," Washingiol1,DC (914/1 0)


    NAI\CP LegHJ Defense and Edu,caliDlla! ;fiuna, Preseraation en                       ·'P:fOl\gS Hand 11L Necessary

    iP,lccc,,r,lditic.ns t.:U1dc:r 771O;rn,'&Jlr,~' v. Cingles,"'   Ut   the VOli!ng ;RjgJ\ts: and Rcdist1ncting Training

    llnstitute., Aii];it Conlercace, Wurri::J1to,n.VA {W/9HO).


    Center for Democratic Performance, Binghurnron University, "Influence Districts and.ihe Courts: ;\

    Concept in Need of Clarity," C10J2811 Q).


    Mexican American Legal Defense and Educational Fund; Short presentationon "Racially Polarized

    Vot:iln,g Analyses," Natior,)EIIRcdisJ,r;icting COr1veriin,g, San Antonio, IX (1'219-/9/10).



    Numerous other presentations before groups 'S,uch as the LouisianaMunicipul Association; New

    Or}cans League o.f Women VQ{~t~; Public ~iPL1Iicy.FomtnS at Scuihcm Univetsnty ~DBllton Rouge;

    Louisiana ~'hln.iCip~tlClerksl11SJilvte;{.La_)BhWk'4~gl:s1ath'~' Cm.v'::U$ 3!nstjtlltf=;; Rt)<ber\ 1\. Taft

     Institute of Government Seminar's, S6utherrlll;lJivei.sify;Sipetihi Committee on Elective Law and

     Voter Pariicipation, AmericanBur i\ssq¢lb.tiQn;$ubcoinmitlcc on Civil and Constiunional LH\\I.

   ·lJriited Slates House of Representatives Corrunitle;e -onthe.Judiciary; Institute of American Culture.
     Academic Sinica (Taiwan). Foundatitmfor Scholarly Excbtlnge(Taiwan), lind Tulane Uhii.;crsity,
     Department 0 rPcliticalScieace.and 'Coll~ge:nfLaw.·                         .


    REFERENCES

    Dr. Charles Barrilleaux, 'Department of Political Science, Florida State Uni ..~ersil'y, Tallahassee, FL
    32306     904-644~7643                                                                                                   .,
    'Christine L. Day; Chair, Department cfPoliiical' Science. University of New                  Orleans, New Orleans,

     LA 70148. 500~6266


    Dr. Joson F. Kirksey, Department of Polidcal :Sd~~c:e.OkJahomaState University, Stillwater, OK

    74074 405-744.5575


    Dr. CbarlesD. Hadley, former Chair, Department of Political Science, University of NewOrleans,

    New Orleans, LA 70 148 504"280~6'~56





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    Dr. $W,'1l11 'Hewell. Iormer Ch"lir, Department of Political Science, UniversatyofNcw Orleans, New
   " Ork(l:Il~;.LA 701;\ 4B 504-280..:8467

   Dr" r-,lliehad D. McO'omiid, Department of Pollticel Science, State University of New "York at

   BinghamtOll"Hinghamton, N'V JJ~OI ,607~777~45.63



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   f~nn(ysi$   or Instance Runoff   VOI}qg £1eCl.i'()n~   in NOI1'h Carolina, 20G7and 2009 {wilh 'N.lichad
   Cobbj.                                 "

    A Rc~'ic\-'-: oCtoe Evjek:n1JBly Record forrhe ;Renewal and Amendment of Jill:   5)p~ci::l1   Provisions of
    till: V\)!ing. iRighls Act. 20M.                                                         "

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   Conference on "Lessonsfrom the Past, Prospects fortmeFulure: Honoring the Fortieth .Anniverxary
   of the Votin]; Rights Act of 1:96~;" ('.ente~for \the Study of American 'Politics, Yale Universiry,
   April 2i-2.3,20~15. Expanded version fqrtiQcomlng ip ~olUJJ1le edited by Dan:ie1Mt:Coo:1, TheJ~osl
   Fundamental Right: Thc'G006 'ReuuthorizatlPRgftthc·Yoting Righ:l'i Act.

    "Racially Polarized Voting: Pervasive and Persistent in the American Seuth," Conference on
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    "MajQr.-it)' VOle RllJe and Runoff E1ections,"pre~~nted at a conferenec on "pil,lffili\y and Multi­
    Round Elections," Universiryot Montr~~l; June, 20DtL{co-authored wilhRlchard N. Engstrom),
    Montreal; June 17-l8, 2006,       Expanded versionselected for inclusion-in mini-symposium in
    ElecwralStudies, editedby Bernard Grofman, 21(Seplcrnber 2008) 407-416. .

    "Cumulative and Limited Voting-Remediesfor Dilutive-Eleorion Systernsand More." presented al
    the symposium on Jloting45 Years after the Voting Rig/ltS Act, St Louis UniverSity School Of Law,
    Murch 26, 10 I0; forthcoming in the Fall 20 Io edition of the St. ,Louis University. Public Law
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